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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO.    r2 3,. /j{,::;-;, ~ f ' -Totz#>
   IN RE COMPLAINT
   - - - - - - - - - - - - -I
                                  CRIMINAL COVER SHEET

      l. Did this matter originate from a matter pending in the Northern Region of the United States
         Attorney's Office prior to August 8, 2014 (Mag. Judge Shaniek M. Maynard)?         No

      2. Did this matter originate from a matter pending in the Central Region of the United States
         Attorney's Office prior to October 3, 2019 (Mag. Judge Jared M. Strauss)? No

      3. Did this matter involve the participation of or consultation with now Magistrate Judge
         Eduardo I. Sanchez during his tenure at the U.S. Attorney ' s Office, which concluded on
         January 22, 2023? No


                                                      Respectfully submitted,

                                                      MARKENZY LAPOINTE
                                                      UNITED STATES ATTORNEY


                                               By:

                                                        ssistant United States Attorney
                                                      FL Bar No. 93075
                                                      99 Northeast Fourth Street
                                                      Miami , Florida 33132-2111
                                                      Tel: 305-961-9151
                                                      Email : jonathan.stratton@usdoj .gov
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AO 9 I (Rev. 11/11) Criminal Complaint



                                      UNITED STATES DISTRICT COURT
                                                                  for th e
                                                      Southern District of Florida

                  United States of America                           )
                                V.                                   )
                                                                     )
                    Victor Manuel Rocha ,                            )
                                                                     )
                                                                     )
                                                                     )
                           Defendant.


                                                  CRIMINAL COMPLAINT
          1, the complainant in thi s case, state that the followi ng is true to the best of my knowledge and belief.
On or about the date(s) of           November 1981 to December 1, 2023       in the county of               Miami-Dade                   in the
                                                                                                  -----------
     Southern          District of ____F_lo_ri_d_a_ _ _ , the defendant(s) vio lated:

             Code Section                                                       Offense Description
18 U.S.C. § 371                                  Conspiracy to Act as An Agent of a Foreign Government and to Defraud the
                                                 United States
18 U.S.C. § 951                                  Acting as an Illegal Agent of a Foreign Government
18 U.S.C. § 1542                                 Use of a Passport Obtained by a False Statement




         This criminal com plaint is based on these facts:

SEE ATTACHED AFFIDAVIT.




         ~ Continued on the attached sheet.




                                                                                       Michael J . Haley, Special Agent, FBI
                                                                                                   Printed name and title

Sworn to before me and signed in my presence.


Date:             12/01/2023


City and state:                          Miami , Florida                        Honorable Edwin   . Torres, Chief United States Magistrate Judge
                                                                                                   Printed name and title
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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF FLORIDA


   UNITED STATES OF AMERICA                           Case No.   J3;'MJ'- 'r3~-TotfR&J
         v.

   VICTOR MANUEL ROCHA,

          Defendant.
  - - - - - - - - - - - - - - -I
                  AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

        I, Michael Haley, being duly sworn, hereby depose and state as follows :

                       INTRODUCTION AND AGENT BACKGROUND

          1.    I am a Special Agent with the Federal Bureau of Investigation ("FBI"), currently

   assigned to a national security squad in the Miami Division. I have been an FBI Special Agent

   since August 2020, and have been assigned to the Miami Division since January 2021 . My duties

   involve the investigation of a variety of federal offenses, including espionage and other

   counterintelligence matters relating to Cuba. As a result, I am familiar with the methods of

   foreign agents acting in the United States at the direction or control of foreign governments,

   including efforts to conceal the transmission of nonpublic information by persons who possess,

   or have possessed, a U.S . government security clearance. I am also familiar with the tradecraft

   used by Cuban intelligence officers. Finally, I have received training on U.S. classified

   information and the system used by federal agencies to protect this information, including the

   rules and regulations that govern its storage, use, and lawful transmission.

          2.    As a federal agent, I am authorized to investigate violations of U.S. laws and

   execute warrants issued under the authority of the United States.

          3.    I make this affidavit in support of a criminal complaint for VICTOR MANUEL
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  ROCHA (the "Defendant") for violations of 18 U.S.C § 951 (acting as an agent of a foreign

  government), § 371 (conspiracy to commit an offense against the United States, specifically 18

  U.S.C § 951), and§ 1542 (use of a United States passport secured by false statement).

           4.      The facts and information contained in this affidavit are based on my personal

  knowledge of the investigation, my training and experience, the observations and reports of other

  law enforcement officers, and information obtained from other agents and witnesses.         This

  affidavit is intended to show only there is sufficient probable cause for the requested complaint

  and does not set forth all my knowledge or all facts known to the United States about this

  investigation.

                                     THE CRIMINAL CONDUCT

                                           The Defendant

           5.      The Defendant, VICTOR MANUEL ROCHA, was born in Colombia on or about

  October 23 , 1950. ROCHA became a naturalized United States citizen in 1978, and currently

  resides in Miami, Florida. ROCHA possesses multiple United States passports as well as a

  passport from the Dominican Republic.

           6.      As discussed below, by his own admission, beginning no later than approximately

  1981, and continuing to the present, ROCHA secretly supported the Republic of Cuba and its

  clandestine intelligence-gathering mission against the United States by serving as a covert agent

  of Cuba's intelligence services.

           7.      To further that role, ROCHA obtained and maintained employment in the United

  States government in positions that provided him: (1) access to nonpublic information, including

  classified information; and (2) the ability to affect United States foreign policy. After his

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  employment ended, ROCHA held other positions and engaged in other acts intended to support

  Cuba's intelligence services. ROCHA always kept his status as a Cuban agent secret in order to

  protect himself and others and to allow himself the opportunity to engage in additional clandestine

  activity. For example, ROCHA: (1) provided false and misleading information to the United

  States to maintain his secret mission; (2) traveled outside the United States to meet with Cuban

  intelligence operatives; and (3) made false and misleading statements to obtain travel documents.

           8.     At no time did ROCHA provide notification to the United States Attorney General

  or the Secretary of State as required by law that he was, in fact, acting as an agent of a foreign

  government, specifically the Republic of Cuba.

                           The Republic of Cuba and its Intelligence Services

           9.     The Republic of Cuba is an authoritarian, Communist state.

            10.   From in or around 1961 until July 2015, the United States did not maintain

  diplomatic relations with the government of the Republic of Cuba. From in or around 1977 until

  July 2015, the United States Interests Section of the Swiss Embassy in Havana, Cuba, was

  designated as the official representative of the United States government to Cuba.

            11.   Between 1982 and 2015, and from 2021 until the present, the United States

  Department of State has designated Cuba as a state sponsor of international terrorism in its State

  Sponsors of Terrorism List, due to Cuba's support for international terrorism and subversion of

  United States justice.

           12.    Since the Cuban Revolution, members and associates of Cuba' s Communist

  Party, including Cuba's intelligence services, used the Spanish term "Comandante" to refer to



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  Cuba' s former leader Fidel Castro, and the term "Compafiero," which means comrade in English,

  to refer to fellow regime loyalists.

            13 .   Starting with Fidel Castro' s ascent to power, the Republic of Cuba viewed the

  United States as its primary threat, and Cuban government officials referred to the United States

  as an enemy of Cuba.

            14.    Cuba' s intelligence services include numerous intelligence and counterintelligence

  entities, including the Directorate of Intelligence, also known as the General Directorate of

  Intelligence, or in Spanish, "Direcci6n de Inteligencia" or "Direcci6n General de Inteligencia"

  (collectively, the "DGI"). The DGI is charged with gathering worldwide intelligence information

  of interest to Cuba and its allies.

            15.    Members and associates of Cuba' s intelligence services use the Spanish term

  "Direcci6n" to refer to the DGI.

            16.    The United States was, and continues to be, the principal target for Cuba' s

  intelligence gathering. To that end, the DGI spots and assesses persons within the United States,

  including employees of the United States government, who may be suitable for recruitment to

  serve a variety of roles on behalf of Cuba' s interests.

            17.    One of the most important of these roles is that of agent - that is, a person who is

  not an officially-recognized employee of the DGI but who is aware he or she is working for the

  service and is willing to engage in clandestine operational activity, including intelligence

  gathering, at the direction, and on behalf, of the DGI.




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                        The Defendant's Positions at the Department of State

            18. Between in or around November 1981 and August 2002, ROCHA was employed

  by the United States Department of State ("DoS"), a department of the United States government

  that manages the United States' relationships with foreign governments and implements U.S.

  foreign policy.

            19.     From in or around December 1982 until in or around January 1985, as a DoS

  employee, ROCHA served as a Political Officer at the United States Embassy in Santo Domingo,

  Dominican Republic.

            20.     From in or around February 1987 until in or around February 1989, as a DoS

  employee, ROCHA served as a Political-Military Affairs Officer at the United States Embassy in

  Tegucigalpa, Honduras.

            21.     From in or around February 1989 until in or around November 1991 , as a DoS

  employee, ROCHA served as the First Secretary at the United States Embassy in Mexico City,

  Mexico.

            22. From in or around November 1991 until in or around July 1994, as a DoS employee,

  ROCHA served as the Deputy Chief of Mission at the United States Embassy in Santo Domingo,

  Dominican Republic.

            23.     From in or around July 1994 until in or around July 1995, as a DoS employee,

  ROCHA served as the Director of Inter-American Affairs on the United States National Security

  Council, with special responsibility for, among other things, Cuba. The following is a photograph

  of the defendant from that time:



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             24.     From in or around July 1995 until in or around July 1997, as a DoS employee,

  ROCHA served as Deputy Principal Officer at the United States Interests Section in Havana,

  Cuba.

             25 .    From in or around July 1997 until in or around November 1999, as a DoS employee,

  ROCHA served as Deputy Chief of Mission at the United States Embassy in Buenos Aires,

  Argentina.

             26.     From in or around November 1999 until in or around August 2002, as a DoS

  employee, ROCHA served as Ambassador to Bolivia at the United States Embassy in La Paz,

  Bolivia.

                    The Defendant's Conduct to Gain Access to Nonpublic Information

             27.     Throughout his employment at the DoS, ROCHA had unique access to nonpublic

  United States government information.

             28.     At no time was ROCHA authorized, directly or indirectly, to deliver, communicate,

  or transmit nonpublic information to agents, officers, or employees of any hostile foreign

  intelligence service, during or after his employment.


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           29. Throughout his DoS employment, ROCHA repeatedly was required, in

  questionnaires, security briefings, interviews, and other settings, to affirm that he understood and

  would adhere to laws and regulations restricting the use and sharing of nonpublic information,

  including classified information subject to greater restrictions.

           30.      For example, on November 25, 1981 , ROCHA signed a Security Agreement in

  which he acknowledged he could not publish or reveal to any person, either during or after his

  DoS employment, any classified or administratively controlled information, or any other

  information transmitted to him in confidence in the course of his official duties.

           31 . In another example, on January 12, 1989, ROCHA signed a Classified Information

  Nondisclosure Agreement, in which he acknowledged that unauthorized disclosure of nonpublic

  information could cause irreparable injury to the United States or could be used to advantage a

  foreign nation.

           32.      Through his career, ROCHA also was required to affirm his loyalties to the United

  States and absence of covert activity on behalf of any foreign nation.         ROCHA repeatedly

  answered these questions falsely.

           33 . For example, in a 1981 questionnaire, ROCHA falsely responded "no" to the

  questions "Are you now or have you ever been an agent or representative of, or otherwise

  employed by or acted for a foreign principal, either personally or through association with a firm?"

  and "Are you now or have you ever been a member of any foreign or domestic organization,

  association, movement, group, or combination of persons which is totalitarian, fascist, communist,

  or subversive?"



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           34.   On September 22, 1991 , ROCHA falsely stated in a SF-86 Questionnaire for

  National Security Positions that he had not ever "been employed by or acted as a consultant for a

  foreign government, firm or agency."

           35. On May 8, 1994, during an FBI background investigation interview conducted at

  the United States Embassy in Santo Domingo, Dominican Republic, regarding his appointment to

  the United States National Security Council, ROCHA falsely stated, among other things, that he

  did not know of any situation, past or present, which could have a bearing on his suitability for

  employment with the United States government; that there was nothing in his personal life that

  may negatively affect his appointment to the National Security Council or that could be used

  against him; and that he had no foreign contact with Cuban nationals.

           36.   On August 25, 1999, in a SF-86 Questionnaire for National Security Positions,

  ROCHA falsely answered "no" to the following questions, among others: (a) "Are you now or

  have you ever been employed by or acted as a consultant for a foreign government, firm, or

  agency?"; (b) "Have you ever had any contact with a foreign government, its establishments

  (embassies or consulates), or its representatives, whether inside or outside the U.S. other than on

  official U.S. Government business?"; (c) "Is there anything in your personal life that could be used

  by someone to coerce or blackmail you?; and (d) "Is there anything in your life that could cause

  an embarrassment to you or to the President if publicly known?"

                   Summary of Activities After Leaving the State Department

           37.   Since leaving DoS, ROCHA has held a series of lucrative private-sector jobs.

  ROCHA currently is employed by LL YC USA as a "senior international business advisor."



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           38.    From in or around 2006 until in or around 2012, ROCHA was an advisor to the

  Commander of the United States Southern Command, a joint command of the United States

  military whose area of responsibility includes Cuba.

           39. Travel records show that ROCHA has traveled frequently and widely outside the

  United States, including multiple trips to Cuba.

      The Defendant's Contacts in 2022 and 2023 with an Undercover DGI Representative

           40.    Prior to November 2022, FBI received information that ROCHA was a covert

  agent of the DGI.

           41.    On November 15, 2022, while in Miami, ROCHA responded to a WhatsApp

  message from an individual purporting to be a covert DGI representative, but who was, in fact, an

  FBI undercover employee ("UC"). The message read: "Good Afternoon ambassador, my name is

  Miguel and I have a message for you from your friends in Havana. It is in regards to a sensitive

  matter. Are you available for a telephone call?" ROCHA replied: "I don 't understand but you

  can call me."

           42.    Later that day, ROCHA participated in a recorded phone call with the UC, in which

  the UC informed ROCHA his name was "Miguel" and that he was "representing your friends in

  Havana." The UC further informed ROCHA that he was "ordered ... to make contact with you

  to give you a message. I know that you have been a great friend of ours since your time in Chile." 1

  The UC then explained "we have little problems in the island and in our embassy in Santo

  Domingo as well, but don't worry, I'm here to resolve the situation, but these are very delicate


  1
   Independent evidence, to include travel records, confirm that ROCHA lived in Chile in or around
  1973 .

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  issues, and it would be best to talk about it in person." ROCHA agreed to meet the UC in person

  the following day in front of a church on 6th Street in the Brickell neighborhood of Miami at 10:00

  am.

                             The First UC Meeting: November 16, 2022

           43.   On November 16, 2022, as directed, ROCHA met the UC in front of the First

  Miami Presbyterian Church at approximately 10:00 am. This meeting was audio and video-

  recorded, as were ROCHA's two subsequent meetings with the UC. All three meetings between

  the UC and ROCHA took place in Spanish and have since been translated to English.

           44.    While traveling to the meeting location, ROCHA engaged in a Surveillance

  Detection Route ("SDR") consistent with DGI tradecraft. In my training and experience, the

  purpose of an SDR is to determine whether the individual is being followed or observed on the

  way to a covert meeting. Specifically, law enforcement observed ROCHA taking an indirect,

  longer, circuitous route to the church, rather than going there in a direct manner. In addition,

  among other things, he stopped during the route at a location for several minutes so that he could

  observe the meeting place from a safe distance. ROCHA's use of counter-surveillance techniques

  is consistent with prior training in covert operations. Indeed, he later told the UC that "they are

  not going to see me when I come out over here ... that's what I did today because I did a whole

  route .. . It's what I've always been told to do."

           45 . At the start of his meeting with the UC, ROCHA guided the UC to a "food court"

  at their location with "low-level employees ... who don 't want to spend too much money. So,

  there's no possibility for - for anyone to see me." ROCHA referred to this as a "measure ... out
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  of precaution" because "I have always ... received sufficient training to know that you must be on

  the alert to - to provocations."

              46.   When the UC told ROCHA he was "a covert representative here in Miami" whose

  m1ss1on was "to contact you, introduce myself as your new contact, and establish a new

  communication plan," ROCHA answered "Yes," and proceeded to engage in a lengthy

  conversation with the UC, during which ROCHA repeatedly described and celebrated his activity

  as a DGI agent.

              47. During this meeting, ROCHA told the UC: "I want you to tell my Compai'ieros that

  I appreciate, and I am very thankful for this alert," explaining that during his last contact with the

  DGI, "I was able to travel ... to the capital and while there I had a long meeting ... [i]n Havana."

  ROCHA added, regarding the UC 's explicit reference to "Havana" during their initial

  conversations: "we have another name. We never utilize Havana ... I tend to say 'The Island.' .. .

  I never use C or H ... [T]hat was the only thing that ... I thought, if someone has betrayed and told

  the enemy 's counterintelligence ... why are they utilizing ... Havana ... But ... Miguel is what I

  remembered, because I don't write anything down ... I try to memorize things ... for security

  reasons."

              48.   ROCHA said that "since the Direcci6n asked me ... to lead a normal life ... I have

  - have created the legend of a right-wing person." I know from my training and experience that a

  legend is an agent's artificial background or a feature of his biography used to maintain his covert

  status.

              49. ROCHA said this meeting was "my first contact - ... since my - my last trip to []

  Havana," which ROCHA stated was in "2016 or 2017," when he traveled to Havana via Panama

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  and "[f]rom Panama, I went to ... I mean, I entered as - as a Dominican," referring to his use of

  his Dominican Republic passport instead of his American passport.

            50.   ROCHA further explained that "I always told myself, ' The only thing that can put

  everything we have done in danger is - is ... someone' s betrayal, someone who may have met me,

  someone who may have known something at some point. "'

            51.   ROCHA assured the UC that "my number one concern; my number one priority

  was the .. . any action on the part of Washington that would - would endanger the life of - of the

  leadership, or the - or the revolution itself."

            52.   ROCHA asked the UC to send "my warmest regards to the Direcci6n," and after

  the UC promised to do so, ROCHA said the following:

                          ROCHA :         [I]t was decades - it was decades. I mean, decades that were
                                          deep -
                          UC:             How many years?
                          ROCHA :         Almost 40.
                          UC:             Wow.
                          ROCHA:          Uh - of a lot of danger. Uh . . . They must have told you
                                          something because you mentioned Chile. . . . That ...
                                          inspired trust in me and at the same time I thought, if there ' s
                                          a traitor and they know that I was in Chile[.] ... I have to tell
                                          you something.
                          UC:             Tell me.
                          ROCHA:          Uh ... It gives me a lot of ... pride and satisfaction to see that
                                          - that people like Miguel, who are - who are much younger,
                                          but-
                          UC:             Thank you.
                          ROCHA:          - who are there -
                          UC:             Thank you.
                          ROCHA:          - doing .. . This is not easy -
                          UC:             No, no, it is not easy. No, it is a struggle -
                          ROCHA:          - it is not easy -

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                         UC:              - but we are fighting.
                         ROCHA:           - this is not easy. Uh ... uh .. .
                         UC:              Thank you for your friendship and help for so many years.
                                          Right? Thank you very much.
                          ROCHA:          Of course, no problem ... This is a huge sacrifice ... huge,
                                          with a lot of tension that you have to manage internally ...
                                          uh ... with self-discipline - ... all the time .... When you
                                          have the conviction, you have self-discipline -

            53 . ROCHA agreed to meet the UC again on February 10, 2023 , with February 17,

    2023 , as a backup date. ROCHA also proposed a backup location if the pair could not meet in

    Miami. ROCHA described a specific location in Santo Domingo, Dominican Republic, where

    "low-income people ... go to the food court" so that ROCHA would not be identified.

            54.   ROCHA also agreed to utilize a Colombian Pesos bill as a parole at the next

    meeting to ensure operational security. I know from my training and experience that a parole is

    a password or recognition phrase or item used between an agent and his handler, or between

    intelligence officers, as a security protocol.

                             The Second UC Meeting: February 17, 2023

            55.   Prior to February 10, 2023 , the FBI learned ROCHA had left the country on a

    business trip. Out of an abundance of caution, the UC arrived at the agreed-upon location, but

    ROCHA did not attend.

            56.   On February 17, 2023 , the backup date agreed upon at the first meeting, ROCHA

    met the UC as planned at the Brickell outdoor food court where they had met previously.

            57. When traveling to the meeting, ROCHA used counter-surveillance techniques

    similar to those for the first meeting. Additionally, upon meeting the UC, he utilized a



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    Colombian Pesos bill as a parole, and complimented the UC on his cover story for their meeting.

    ROCHA told the UC, regarding their meeting location: "I have my bank here ... So, it's my

    legend for being here."

            58.   ROCHA assured the UC "But of course" when told the DGI wanted to confirm

    "that you continue to be a Compafiero of ours."

            59.   ROCHA said, regarding how he obtained his DoS employment: "I went little by

    little ... It was a very meticulous process ... very disciplined - but very disciplined .... I knew

    exactly how to do it and obviously the Direcci6n accompanied me .... they knew that I knew

    how to do it ... It' s a long process and it wasn't easy."

            60.   When asked by the UC whether "if there was an opportunity, where we can work

    together again," ROCHA replied: "No - no ... you guys don't even have to propose that ... if

    I had access to something that was worthwhile, I - I would propose it [points at himself] . Uh ...

    and the access ... it's having access to information that' s important."

            61.   During their meeting, ROCHA celebrated his activities on behalf of the DGI and

    against the United States' interests, and explained why and how he continued to preserve the

    secrecy of those activities, stating among other things: (1) "[F]or me, what has been done, has

    strengthened the Revolution. It has strengthened it immensely ... [W]e can' t put - put that in

    danger ... I'm very zealous in regards to what we have done and with what I have to protect, and

    what we have done."; (2) "I have to protect what we did because what we did ... because what

    we did is ... the cement that has strengthened the last 40 years. I mean, that cement is concrete.

    It's not [UI] , it' s concrete. You know?"; (3) "I wouldn't put what we have done in danger ...

    because ... they would react strongly against the Revolution ... strongly because of the fact that

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    through my participation we - we did what we did."; (4) "They underestimated what we could

    do to them. We did more than they thought"; and (5) "the Direcci6n knows" what ROCHA did.

           62.   During this meeting, ROCHA further said, as confirmed in the screenshot below

    from close-captioned video of the meeting: "What we have done ... it's enormous ... More than

    a grand slam."




           63.   During their meeting, ROCHA also lamented "the blows that the enemy," meaning

    the United States, "has dealt to the current revolution."

           64. ROCHA agreed to meet the UC a third time, and made arrangements for that

    meeting including a backup plan, reassuring the UC that "you can ask the Direcci6n ... I was

    always there."

                                The Third UC Meeting: June 23, 2023

           65.   On June 23 , 2023 , ROCHA met the UC in person at the outdoor food court where

    they had met the previous two times. When traveling to the meeting, ROCHA again used an

    SDR.

           66.   During their meeting, when told by the UC that "the Direcci6n wants to ensure that


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    you are still a Compaiiero of ours ... Are you still with us?," ROCHA responded later: "I am

    angry. I'm pissed off ... Because of the question that was asked ... It's that - that ... it' s like

    questioning my manhood ... It' s like you want me to drop them .. . and show you if I still have

    testicles." Later, when told that with "the help that you have given us for so long ... you must

    have a great pair of balls not to be worried," ROCHA replied: "I have them - I have them."

           67.   ROCHA promised the UC that, if there were an investigation, he knew "how to

    handle it," and assured the UC: "I know how to defend myself ... I have the intelligence .. . and

    I have the knowledge. I mean ... in the course of my duties, how many times did I meet with -

    with them ... to answer questions .. . I know how it works the - the system."

           68.   ROCHA stated to the UC that "I never - never have in 40 years put a Compafiero

    in danger. Or others, never. And there are certain rules ... from this type of work that, be it us,

    be them, be the Russians ... So then, whoever is in a mission doesn't see the other one in another.

    That is simply a no, because it jeopardizes everything."

           69.   ROCHA promised the UC that "I protect - I protect everything that has been done.

    I have always protected it and will protect it and I know how to protect it."

           70.   ROCHA made arrangements to meet the UC a fourth time on December 8, 2023 ,

    also selecting backup dates.

                    Diplomatic Security Service Interview on December 1, 2023

           71.   On December 1, 2023 , two Diplomatic Security Service ("DSS") agents from the

    DoS conducted a consensual, voluntary interview of ROCHA. During the DSS interview,

    ROCHA lied repeatedly. For example, he denied ever having met someone with the UC ' s

    description, even after being shown a picture of the UC. When ROCHA was shown a picture

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    of him sitting across from the UC during one of their meetings, ROCHA said the UC approached

    him, but one time only. When told the interviewers possessed information that he met with the

    UC on more than one occasion, ROCHA stated he did not want to comment.

                  Summary of Criminal Violations Supported by Probable Cause

           72.    Title 18, United States Code, Section 951 makes it unlawful for a person to act

    within the United States as an agent of a foreign government without prior notification to the

    Attorney General; in relevant part, the statute defines an agent as a person who acts "subject to

    the direction or control" of the foreign government. Title 18, United States Code, Section 3 71

    makes it unlawful for a person to conspire to commit an offense against the United States,

    including to violate Section 951.

           73 .   ROCHA, aided by unnamed conspirators within Cuba' s intelligence services,

    agreed to act and did act as a clandestine agent of the Cuban government during at least the

    period of 1981 (when ROCHA started at DoS) through the present.

           74.    The audio and video-recorded conversations summarized above in themselves

    establish unequivocally that ROCHA, in his own words, has acted for decades as a covert agent

    of the DGI.




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           75.   Throughout the meetings, ROCHA behaved as a Cuban agent.                   ROCHA

    consistently referred to the United States as "the enemy," and used the term "we" to describe

    himself and Cuba. ROCHA additionally praised Fidel Castro as the "Comandante," and referred

    to his contacts in Cuban intelligence as his "Compafieros" (comrades) and to the Cuban

    intelligence services as the "Direcci6n," tell-tale terms used by Cuban operatives.

           76.   ROCHA also made other statements during the meetings that the investigation

    confirmed to be true. For example, in the November 2022 meeting, ROCHA described the

    "moment that I lived through it because I was in charge, it was the knock down of the small

    planes ... That was a time of a lot of tension, ... that was the time of the ... ' Brothers to the

    Rescue ' and other similar people . . . who were pushing politics towards unnecessary

    provocations." In fact, from approximately July 1995 until July 1997, as a DoS employee,

    ROCHA served as Deputy Principal Officer at the United States Interests Section in Havana.

    The incident that ROCHA described as the "knock down of the small planes" occurred during

    his tenure, in February 1996, when Cuba shot down two unarmed airplanes operated by members

    of Brothers to the Rescue, a U.S.-based group opposed to Castro's government, and killed four

    men.

           77.   Similarly, during the November 2022 meeting, ROCHA admitted traveling to

    Cuba in "2016 or 2017" to meet with his DGI handlers in Havana, and said that, to get there, he

    traveled via Panama and entered Cuba "as a Dominican." Travel records confirm that in January

    2017, ROCHA travel to Cuba exactly as he described to the UC. Specifically, on January 2,

    2017, using a United States passport bearing number 530963729, ROCHA flew from Miami

    International Airport in Miami, Florida to Santo Domingo, Dominican Republic. On January 3,

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    2017, using his Dominican Republic passport instead of a U.S. passport, ROCHA flew from

    Santo Domingo to Panama City, Panama and then from Panama City to Havana, Cuba. On

    January 7, 2017, using his Dominican passport, ROCHA flew back from Havana to Panama

    City, and then to Santo Domingo. He subsequently flew back to Miami on January 8, 2017,

    using his United States passport bearing number 530963729. Notably, just two months earlier,

    in November 2016, ROCHA traveled to Havana directly from Miami on his U.S. passport. He

    did so again on his U.S. passport, again directly from Miami, in November 2017. On neither of

    those occasions did he use a Dominican passport or travel to Havana via the Dominican Republic

    or Panama as he did in January 2017.

           78.   Simply put, ROCHA's activities with, and admissions to, the UC, corroborated by

    other evidence from the investigation, prove he conspired with the DGI to act, and has continued

    to act to this day, as an agent of a foreign government contrary to Section 951.

           79.   ROCHA also violated Title 18, United States Code, Section 1542 while traveling

    to and from Cuba in January 2017, as just described. Section 1542, in summary, makes unlawful

    to willfully and knowingly use a passport whose issuance was secured by reason of a false

    statement.

           80.   At the start of his trip to Havana to meet with the DGI, as confirmed by travel

    records, ROCHA used his United States passport bearing number 530963729 to fly initially to

    Santo Domingo. ROCHA secured that U.S. passport in 2016, based upon an application for

    U.S. passport dated February 24, 2016. In that application, ROCHA declared under penalty of

    perjury that he had not "since acquiring United States citizenship/nationality ... accepted or

    performed the duties of any office, post or employment under the government of a foreign state

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    or political subdivision thereof. " For the reasons discussed above, and based upon his own

    words, this statement was false, since ROCHA has for decades served as a covert agent of the

    Cuban government. ROCHA therefore violated Section 1542 when he used the U.S. passport

    obtained via that false statement to (1) travel from Miami to Santo Domingo on January 2, 2017,

    and (2) to re-enter the United States at Miami International Airport on January 8, 2017.

                                           CONCLUSION

           81.   Based upon all of the foregoing, I respectfully submit that this affidavit establishes

    probable cause to believe that ROCHA: (1) beginning no later than November 1981 to the

    present, conspired to violate 18 U.S.C. § 951 , in violation 18 U.S .C. § 371 ; (2) beginning no

    later than November 1981 to the present, violated 18 U.S.C. § 951 ; (3) on or about January 2,

    2017, violated 18 U.S.C. § 1542; and (4) on or about January 8, 2017, violated 18 U.S.C. § 1542

         FURTHER YOUR AFFIANT SA YETH NAUGHT.




                                                SPECIAL AGENT
                                                FEDERAL BUREAU OF INVESTIGATION



  Sworn and subscribed before me this 1st day of December 2023 .




            . TORRES
             ITED STATES MAGISTRATE JUDGE




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